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                            UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF MARYLAND
                                     Baltimore Division

IN RE:

ANDREW WILLIAM MACSORLEY                           Chapter 7
                                                   Case No. 18-19964-TJC
              Debtor

NATIONSTAR MORTGAGE LLC D/B/A
MR. COOPER

              Movant

v.

ANDREW WILLIAM MACSORLEY
8014 BRIDGEPOINTE DRIVE
CHESTER, MD 21619
         (Debtor)

MONIQUE D. ALMY
1001 PENNSYLVANIA AVENUE, N.W.,
10TH FL
WASHINGTON, DC 20004-2595
         (Trustee)

              Respondents

                       MOTION FOR RELIEF FROM AUTOMATIC STAY
         Nationstar Mortgage LLC d/b/a Mr. Cooper (“Movant”) by undersigned counsel,

respectfully moves this Honorable Court to terminate the Automatic Stay as to the real property

located at 245 Duke Of Kent Street, Chestertown, MD 21620 (“Property”), and, as grounds

therefore, states as follows:

         1.     This proceeding seeking relief under 11 U.S.C. § 362(d) of the U.S. Bankruptcy

Code is a contested matter within the meaning of 9014 and 4001 of the Federal Rules of

Bankruptcy Procedure, and this court has jurisdiction over this matter pursuant to 28 U.S.C. §
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157. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(G) and (b)(2)(O). Venue is

proper pursuant to 28 U.S.C. § 1409(a).

       2.      On July 27, 2018, the above named Debtor, Andrew William MacSorley

(“Debtor”), filed in this court a Petition under Chapter 7 of the United States Bankruptcy Code.

Monique D. Almy was appointed Chapter 7 Trustee.

       3.      On or about February 24, 2013, Andrew W. MacSorley executed and delivered to

Nationstar Mortgage LLC a Note in the amount of TWO HUNDRED THIRTY-FIVE

THOUSAND DOLLARS AND NO CENTS ($235,000.00), plus interest at the fixed rate of

4.375%, to be paid over thirty (30) years. A copy of the Note is attached as Exhibit A and

incorporated herein.

       4.      To secure the repayment of the sums due under the Note, Andrew W. MacSorley

executed and delivered to Nationstar Mortgage LLC a Deed of Trust dated February 24, 2013,

encumbering the real property (“Property”) described as:




which has the address of 245 Duke Of Kent Street, Chestertown, MD 21620. A copy of the Deed

of Trust is attached as Exhibit B and incorporated herein.
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         5.    The Note and Deed of Trust were later transferred to Movant and Movant is the

current holder of the Note and Deed of Trust. A copy of the Assignment is attached as Exhibit

C and incorporated herein.

         6.    As of September 13, 2018, Debtor owes an unpaid principal balance of

$213,448.12 under the Note, plus additional accruing interest, late charges, attorneys’ fees and

costs.

Unpaid Principal Balance                           $213,448.12
Unpaid, Accrued Interest                             $5,754.41
Escrow Advance                                       $1,118.11
Title Cost                                             $340.00
Less: Partial Payments                                  ($0.00)
Total Outstanding Obligations                     $220,660.64


         7.    As of September 13, 2018, Debtor is contractually due for March 1, 2018, which

includes the following missed payments:

Number of      From                  To                     Payment Amount        Total Due
Missed
Payments
7              March 1, 2018         September 1, 2018               $1,407.00      $9,849.00
                                                                     Suspense:        ($0.00)

                                                     Total Payments Past Due        $9,849.00


         8.    A copy of the payment history is attached as Exhibit D and incorporated herein.

         9.    The value of the property is $190,000.00, according to the Debtor's Schedule "A".

         10.   The Debtor is in default under the Note.

         11.   The Debtor has not and cannot offer Movant any adequate protection of its

interest in the Property, and Movant avers it is not adequately protected.

         12.   Debtor's Chapter 7 Statement of Intention lists an intent to surrender the Property.
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        13.    As there is little to no equity in the Property, the Property is not necessary for an

effective reorganization. Therefore, relief from stay is appropriate under § 362(d)(2) of the

Bankruptcy Code to permit Movant to exercise its non-bankruptcy rights and remedies with

respect to the Mortgage.

        14.    That the Debtor‘s intention to surrender the Property to Movant, account

delinquency and lack of equity in the Property constitute cause for relief from the automatic stay.

       WHEREFORE, Nationstar Mortgage LLC d/b/a Mr. Cooper, prays that this Court issue

an Order terminating or modifying the Automatic Stay under 11 U.S.C. § 362 as to the property

located at 245 Duke Of Kent Street, Chestertown, MD 21620, and granting the following:

       a.      Relief from the Automatic Stay allowing Movant to proceed under applicable

non-bankruptcy law to enforce its remedies to foreclose upon and obtain possession of the

Property and/or allowing Movant, through its agents, servicers and representatives to contact

Debtor and/or Debtor‘s counsel for the purpose of engaging in discussions and consideration for

possible loss mitigation options, solutions and/or resolutions with regard to the underlying

mortgage and note, including, but not limited to loan modification, deed in lieu or other loss

mitigation alternatives.

       b.      That the Order be binding and effective despite any conversion of this bankruptcy

case to a case under any other chapter of Title 11 of the United States Code.

       c.      That the 14-day stay described by Bankruptcy Rule 4001(a)(3) be waived.

       d.      For such other relief as the Court deems proper.
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Date: ____September 27, 2018_______

                                      Respectfully submitted,

                                         /s/ Namrata Loomba
                                      Kathryn Smits, Bar #13912
                                      Namrata Loomba, Bar #20053
                                      Orlans PC
                                      PO Box 2548
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                                      Cooper
                                      ksmits@orlans.com
                                      nloomba@orlans.com
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                                  CERTIFICATE OF SERVICE

       The undersigned states that on September 27, 2018, copies of the foregoing Motion for
Relief from Automatic Stay were filed with the Clerk of the Court using the ECF system, which
will send notification of such filing to the following:

Monique D. Almy
1001 Pennsylvania Avenue, N.W., 10th Fl
Washington, DC 20004-2595
malmytrustee@crowell.com
Bankruptcy Trustee

Carolyn Gilden Krohn
Nager Law Group
8180 Lark Brown Road
Suite 201
Elkridge, MD 21075
carolynkrohn@gmail.com
Debtor’s Attorney

and I hereby certify that I have caused to be mailed by first class mail, postage prepaid, copies of
the foregoing Motion for Relief from Automatic Stay to the following non-ECF participants:

Andrew William MacSorley
8014 Bridgepointe Drive
Chester, MD 21619
Debtor

                                                     /s/ Namrata Loomba
                                               Kathryn Smits, Esquire
                                               Namrata Loomba, Esquire
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                        Payment History

Due Date                                  Payment Amount Due

3/1/2018                                              $1,407.00
4/1/2018                                              $1,407.00
5/1/2018                                              $1,407.00
6/1/2018                                              $1,407.00
7/1/2018                                              $1,407.00
8/1/2018                                              $1,407.00
9/1/2018                                              $1,407.00
                         Suspense:                      ($0.00)
                            Total:                    $9,849.00
